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                      1                                        CERTIFICATE OF SERVICE

                      2        I am employed by the law firm of Semenza Kircher Rickard. in Clark County. I am over
                        the age of 18 and not a party to this action. The business address is 10161 Park Run Drive, Suite
                      3 150, Las Vegas, Nevada 89145.
                      4
                                       On the 18th day of July 2022, I served the document(s), described as:
                      5
                               [PROPOSED] ORDER GRANTING PETITION OF RECEIVER, GEOFF WINKLER,
                      6 FOR ORDER APPROVING PROCEDURES FOR SALE OF REAL PROPERTY OUT OF
                                                                      RECEIVERSHIP
                      7
                      8                by serving the    original   a true copy of the above and foregoing via:

                      9           a. CM/ECF System to the following registered e-mail addresses:

                     10 Garrett T Ogata, court@gtogata.com
                     11 Gregory E Garman, ggarman@gtg.legal, bknotices@gtg.legal
                     12
                        Kara B. Hendricks, hendricksk@gtlaw.com, escobargaddie@gtlaw.com, flintza@gtlaw.com,
                     13 lvlitdock@gtlaw.com, neyc@gtlaw.com, rabeb@gtlaw.com, sheffieldm@gtlaw.com
                     14 Kevin N. Anderson, kanderson@fabianvancott.com, amontoya@fabianvancott.com,
                     15 mdonohoo@fabianvancott.com, sburdash@fabianvancott.com
                     16 Lance A Maningo, lance@maningolaw.com, kelly@maningolaw.com,
                            yasmin@maningolaw.com
                     17
                            Michael D. Rawlins, mrawlins@smithshapiro.com, jbidwell@smithshapiro.com
                     18
                     19 Peter S. Christiansen, pete@christiansenlaw.com, ab@christiansenlaw.com,
                        chandi@christiansenlaw.com, hvasquez@christiansenlaw.com, jcrain@christiansenlaw.com,
                     20 keely@christiansenlaw.com, kworks@christiansenlaw.com, tterry@christiansenlaw.com,
                        wbarrett@christiansenlaw.com
                     21
                            T. Louis Palazzo, louis@palazzolawfirm.com, celina@palazzolawfirm.com,
                     22 miriam@palazzolawfirm.com, office@palazzolawfirm.com
                     23
                        Jonathan D. Blum, jblum@wileypetersenlaw.com, cdugenia@wileypetersenlaw.com,
                     24 cpascal@wileypetersenlaw.com
                     25 Charles La Bella, charles.labella@usdoj.gov, maria.nunez-simental@usdoj.gov
                     26 Samuel A Schwartz, saschwartz@nvfirm.com, ecf@nvfirm.com
                     27
                        Jason Hicks, hicksja@gtlaw.com, escobargaddie@gtlaw.com,
                     28 geoff@americanfiduciaryservices.com, lvlitdock@gtlaw.com
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP

                            4873-2453-5081 1                                   -3-
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                      1
                            Trevor Waite, twaite@fabianvancott.com, amontoya@fabianvancott.com
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                      4 Maria A. Gall, gallm@ballardspahr.com, LitDocket West@ballardspahr.com,
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                      8 Tracy S. Combs, combst@sec.gov, #slro-docket@sec.gov
                      9 Joseph G. Went, jgwent@hollandhart.com, Intaketeam@hollandhart.com,
                            blschroeder@hollandhart.com
                     10
                            Joni Ostler, ostlerj@sec.gov
                     11
                     12 Daniel D. Hill, ddh@scmlaw.com
                     13           b. BY U.S. MAIL. I deposited such envelope in the mail at Las Vegas, Nevada. The
                                     envelope(s) were mailed with postage thereon fully prepaid. I am readily familiar with
                     14              Semenza Kircher Rickard’s practice of collection and processing correspondence for
                                     mailing. Under that practice, documents are deposited with the U.S. Postal Service on the
                     15              same day which is stated in the proof of service, with postage fully prepaid at Las Vegas,
                     16              Nevada in the ordinary course of business. I am aware that on motion of party served,
                                     service is presumed invalid if the postal cancellation date or postage meter date is more than
                     17              one day after the date stated in this proof of service.
                     18           c. BY PERSONAL SERVICE.
                     19
                                  d. BY DIRECT EMAIL.
                     20
                                  e. BY FACSIMILE TRANSMISSION.
                     21
                                       I declare under penalty of perjury that the foregoing is true and correct.
                     22
                     23
                                                                              /s/ Olivia A. Kelly
                     24                                                       An Employee of Semenza Kircher Rickard

                     25
                     26
                     27
                     28
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP

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